8:17-cr-00059-JMG-MDN        Doc # 93   Filed: 04/20/18   Page 1 of 4 - Page ID # 270




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              8:17-CR-59

vs.
                                                    TENTATIVE FINDINGS
CHRISTINA WALKER,

                    Defendant.

      The Court has received the revised presentence investigation report
and addendum in this case. The defendant has filed an objection (filing 92) to
the presentence investigation report.


      IT IS ORDERED:


1.    The Court will consult and follow the Federal Sentencing
      Guidelines to the extent permitted and required by United States
      v. Booker, 543 U.S. 220 (2005) and subsequent cases. In this
      regard, the Court gives notice that, unless otherwise ordered, it
      will:

      (a)     give the advisory Guidelines respectful consideration
              within the context of each individual case and will filter the
              Guidelines' advice through the 18 U.S.C. § 3553(a) factors,
              but will not afford the Guidelines any particular or
              "substantial" weight;
8:17-cr-00059-JMG-MDN     Doc # 93    Filed: 04/20/18   Page 2 of 4 - Page ID # 271




     (b)   resolve all factual disputes relevant to sentencing by the
           greater weight of the evidence and without the aid of a
           jury;

     (c)   impose upon the United States the burden of proof on all
           Guidelines enhancements;

     (d)   impose upon the defendant the burden of proof on all
           Guidelines mitigators;

     (e)   depart from the advisory Guidelines, if appropriate, using
           pre-Booker departure theory; and

     (f)   in cases where a departure using pre-Booker departure
           theory is not warranted, deviate or vary from the
           Guidelines when there is a principled reason justifying a
           sentence different than that called for by application of the
           advisory     Guidelines,    again    without     affording    the
           Guidelines any particular or "substantial" weight.

  2. There are no motions that require resolution at sentencing. The
     defendant objects to the presentence investigation report, arguing
     that the drug quantity amount as reflected in the plea agreement
     results in a base offense level of 30 under U.S.S.G. § 2D.1.1.
     Filing 92. The presentence report recommends a base offense
     level of 32.

     The plea agreement stipulates that the defendant be held
     responsible for at least 500 grams but not more than 1.5
     kilograms of methamphetamine. Filing 87 at 3. The defendant



                                      -2-
8:17-cr-00059-JMG-MDN       Doc # 93    Filed: 04/20/18   Page 3 of 4 - Page ID # 272




       argues that she ought to be held responsible for the quantity of
       methamphetamine as set forth in the plea agreement. And that
       quantity triggers a base level offense of 30. See U.S.S.G. §
       2D1.1(c)(5).

       The Court will resolve this matter at sentencing.

     3. Except to the extent, if any, that the Court has sustained an
       objection, granted a motion, or reserved an issue for later
       resolution in the preceding paragraph, the parties are notified
       that the Court's tentative findings are that the presentence
       report is correct in all respects.

4.     If any party wishes to challenge these tentative findings, that
       party shall, as soon as possible (but in any event no later than
       three (3) business days before sentencing) file with the Court and
       serve upon opposing counsel an objection challenging these
       tentative findings, supported by a brief as to the law and such
       evidentiary materials as are required, giving due regard to the
       local rules of practice governing the submission of evidentiary
       materials. If an evidentiary hearing is requested, such filings
       should include a statement describing why a hearing is necessary
       and how long such a hearing would take.

5.     Absent timely submission of the information required by the
       preceding paragraph, the Court's tentative findings may become
       final and the presentence report may be relied upon by the Court
       without more.




                                        -3-
8:17-cr-00059-JMG-MDN    Doc # 93   Filed: 04/20/18   Page 4 of 4 - Page ID # 273




6.   Unless otherwise ordered, any objection challenging these
     tentative findings shall be resolved at sentencing.

     Dated this 20th day of April, 2018.


                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




                                    -4-
